Case:19-05319-jtg   Doc #:373-2 Filed: 11/20/2020   Page 1 of 29
Case:19-05319-jtg   Doc #:373-2 Filed: 11/20/2020   Page 2 of 29
Case:19-05319-jtg   Doc #:373-2 Filed: 11/20/2020   Page 3 of 29
Case:19-05319-jtg   Doc #:373-2 Filed: 11/20/2020   Page 4 of 29
Case:19-05319-jtg   Doc #:373-2 Filed: 11/20/2020   Page 5 of 29
Case:19-05319-jtg   Doc #:373-2 Filed: 11/20/2020   Page 6 of 29
Case:19-05319-jtg   Doc #:373-2 Filed: 11/20/2020   Page 7 of 29
Case:19-05319-jtg   Doc #:373-2 Filed: 11/20/2020   Page 8 of 29
Case:19-05319-jtg   Doc #:373-2 Filed: 11/20/2020   Page 9 of 29
Case:19-05319-jtg   Doc #:373-2 Filed: 11/20/2020   Page 10 of 29
Case:19-05319-jtg   Doc #:373-2 Filed: 11/20/2020   Page 11 of 29
Case:19-05319-jtg   Doc #:373-2 Filed: 11/20/2020   Page 12 of 29
Case:19-05319-jtg   Doc #:373-2 Filed: 11/20/2020   Page 13 of 29
Case:19-05319-jtg   Doc #:373-2 Filed: 11/20/2020   Page 14 of 29
Case:19-05319-jtg   Doc #:373-2 Filed: 11/20/2020   Page 15 of 29
Case:19-05319-jtg   Doc #:373-2 Filed: 11/20/2020   Page 16 of 29
Case:19-05319-jtg   Doc #:373-2 Filed: 11/20/2020   Page 17 of 29
Case:19-05319-jtg   Doc #:373-2 Filed: 11/20/2020   Page 18 of 29
Case:19-05319-jtg   Doc #:373-2 Filed: 11/20/2020   Page 19 of 29
Case:19-05319-jtg   Doc #:373-2 Filed: 11/20/2020   Page 20 of 29
Case:19-05319-jtg   Doc #:373-2 Filed: 11/20/2020   Page 21 of 29
Case:19-05319-jtg   Doc #:373-2 Filed: 11/20/2020   Page 22 of 29
Case:19-05319-jtg   Doc #:373-2 Filed: 11/20/2020   Page 23 of 29
Case:19-05319-jtg   Doc #:373-2 Filed: 11/20/2020   Page 24 of 29
Case:19-05319-jtg   Doc #:373-2 Filed: 11/20/2020   Page 25 of 29
Case:19-05319-jtg   Doc #:373-2 Filed: 11/20/2020   Page 26 of 29
Case:19-05319-jtg   Doc #:373-2 Filed: 11/20/2020   Page 27 of 29
Case:19-05319-jtg   Doc #:373-2 Filed: 11/20/2020   Page 28 of 29
Case:19-05319-jtg   Doc #:373-2 Filed: 11/20/2020   Page 29 of 29
